Case 2:22-cv-01527-DAD-AC Document 61-14 Filed 03/06/24 Page 1 of 10




                     EXHIBIT 13
Case 2:22-cv-01527-DAD-AC Document 61-14 Filed 03/06/24 Page 2 of 10




                          In The Matter Of:
                              LONG vs.
                             FERNANDEZ




                         B.J. MACFARLANE
                               Vol. 2
                          February 9, 2024



                      Challe, Fisher & Morfin
                         1828 South Street
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                        Original File B.J. Macfarlane, Vol II.txt
                     Min-U-Script® with Word Index
     Case 2:22-cv-01527-DAD-AC Document 61-14 Filed 03/06/24 Page 3 of 10




 1                  UNITED STATES DISTRICT COURT
 2                 EASTERN DISTRICT OF CALIFORNIA
 3                       SACRAMENTO DIVISION
 4
 5   E.L., a minor, by and through     )
     her general guardian, JESSICA     )
 6   LONG; JESSICA LONG, an            )
     individual,                       )
 7                                     )
               Plaintiffs,             )    Case No.
 8   vs.                               )    2:22-cv-01527-DAD-AC
                                       )
 9   LIEUTENANT JERRY FERNANDEZ        )
     individually and in his           )
10   individual capacity as Sheriff    )
     for the County of Shasta;         )
11   DETECTIVE JACOB DUNCAN,           )
     individually and in his           )
12   individual capacity as Sheriff    )
     for the County of Shasta;         )
13   DETECTIVE JEREMY ASHBEE,          )
     individually and in his           )
14   individual capacity as Sheriff    )
     for the County of Shasta;         )
15   SHASTA DISTRICT FAIR AND EVENT    )
     CENTER, a district agricultural   )
16   association; COUNTY OF SHASTA;    )
     SHASTA COUNTY SHERIFF'S           )
17   DEPARTMENT; MELANIE SILVA, in     )
     her individual capacity; BJ       )
18   MACFARLANE, in his individual     )
     capacity; and DOES 1 through      )
19   10,                               )
                                       )
20             Defendants.             )
     __________________________________)
21
22                VIDEO DEPOSITION OF BJ MACFARLANE
23                     PAGE 225-391, VOLUME II
24                    FRIDAY, FEBRUARY 9, 2024
25

                                Challe, Fisher & Morfin                     225
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                 Case 2:22-cv-01527-DAD-AC Document 61-14 Filed 03/06/24 Page 4 of 10


                                               B.J. MACFARLANE


08:33:32AM   1   A.       I never added him, I don't believe, as a
08:33:36AM   2   contact.   I have not seen it.   I lost a lot of stuff
08:33:39AM   3   when I changed my phone number here in -- I don't know.
08:33:43AM   4   Q.       Okay.   So who gave you the -- you said you were
08:33:48AM   5   waiting on permission to -- for direction to have Cedar
08:33:53AM   6   slaughtered, correct?
08:33:54AM   7   A.       Yes.
08:33:54AM   8   Q.       When it was at your house?     Who ultimately gave
08:33:58AM   9   you the direction to?
08:33:58AM10     A.       I believe it was either Melanie or Kathie.
08:34:01AM11     Q.       Melanie or Kathie.   Did -- why do you believe
08:34:04AM12     that?
08:34:04AM13     A.       Because that's who -- I don't know.    That's who
08:34:10AM14     the -- my boss -- it wasn't even my boss.     The CEO of
08:34:16AM15     the fair and the owner of the goat.
08:34:17AM16     Q.       Okay.   And your understanding was that they were
08:34:20AM17     in communication with law enforcement?
08:34:21AM18     A.       Yes.
08:34:23AM19     Q.       And by "law enforcement," I mean the sheriff's
08:34:26AM20     office, and you said maybe the sheriff, but it maybe it
08:34:30AM21     was the lieutenants as well?
08:34:32AM22              MR. NORTHCUTT:   Objection.    Misstates testimony.
08:34:34AM23     He never said it was the sheriff.      He, in fact,
08:34:37AM24     testified he said it wasn't the sheriff.     It was the
08:34:40AM25     sheriff's department.

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                 Case 2:22-cv-01527-DAD-AC Document 61-14 Filed 03/06/24 Page 5 of 10


                                                 B.J. MACFARLANE


08:34:40AM   1            MR. GORDON:   Q.    He said -- I thought you said I
08:34:42AM   2   believe -- you don't believe so, so I'm assuming you
08:34:45AM   3   mean maybe you don't know who it was?         You said they
08:34:49AM   4   were in communication with --
08:34:50AM   5   A.       The sheriff's department.
08:34:51AM   6   Q.       The sheriff's department, okay.       And the DA as
08:34:54AM   7   well?   Was your understanding?
08:35:00AM   8   A.       Yeah.
08:35:01AM   9   Q.       Why did you believe that Melanie was in
08:35:04AM10     communication with the sheriff's department?
08:35:06AM11     A.       Because she was the CEO.      She was the one --
08:35:14AM12     Q.       Did she tell that to you?
08:35:16AM13     A.       I don't know.      I don't recall.
08:35:19AM14     Q.       So you're assuming because she's the CEO that
08:35:21AM15     she was in communication with the sheriff's department?
08:35:23AM16     A.       Yes.
08:35:24AM17     Q.       Okay.   So Melanie or Kathie Muse ultimately gave
08:35:32AM18     you authority to kill -- have Cedar sent to slaughter?
08:35:37AM19     A.       I believe so.
08:35:40AM20     Q.       You believe so.     About what date did they do
08:35:42AM21     that?
08:35:43AM22     A.       I don't recall.
08:35:44AM23     Q.       Where did you -- what date did you arrange for
08:35:48AM24     Cedar's slaughter?
08:35:49AM25     A.       I do not recall.

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                 Case 2:22-cv-01527-DAD-AC Document 61-14 Filed 03/06/24 Page 6 of 10


                                               B.J. MACFARLANE


09:07:59AM   1   all right?
09:08:00AM   2            Okay.   So it's your testimony that after Cedar
09:08:02AM   3   was dropped off at your house on the evening of July
09:08:05AM   4   8th, and between July 8th and July 28th, either Melanie
09:08:09AM   5   or Kathie told you to have Cedar slaughtered, correct?
09:08:12AM   6   A.       Correct.
09:08:13AM   7   Q.       All right.   So it's your testimony that after
09:08:16AM   8   Cedar was dropped off at your house on the evening of
09:08:18AM   9   July 8th, between that date and July 28th, you did not
09:08:21AM10     speak with anyone at the sheriff's department; correct
09:08:23AM11     or incorrect?
09:08:24AM12     A.       Incorrect.   Say that again.
09:08:28AM13     Q.       Okay.   So between the time that Cedar was
09:08:31AM14     dropped off on July 8th through July 28th, it's your
09:08:34AM15     testimony that you did not speak with anyone at the
09:08:36AM16     sheriff's department; correct or incorrect?
09:08:38AM17     A.       Incorrect.   I believe I said I don't recall.
09:08:42AM18     Q.       So you might have?
09:08:43AM19     A.       Yes.
09:08:46AM20     Q.       Okay.   And it's your testimony that you've never
09:08:57AM21     spoken with Michael Johnson, Sheriff Michael Johnson,
09:09:01AM22     regarding Cedar the goat; correct or incorrect?
09:09:03AM23     A.       Correct.
09:09:04AM24     Q.       And it's your testimony that you do not know who
09:09:14AM25     received Cedar's meat; correct or incorrect?

                                            Challe, Fisher & Morfin                     269
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                 Case 2:22-cv-01527-DAD-AC Document 61-14 Filed 03/06/24 Page 7 of 10


                                                 B.J. MACFARLANE


11:11:02AM   1   said that, and I probably agreed that no one needs to
11:11:07AM   2   know where that -- that we didn't want to cause that guy
11:11:11AM   3   that got the goat any grief.
11:11:13AM   4   Q.        Why would that guy get grief?
11:11:17AM   5   A.        For having that goat that Melanie and I have
11:11:30AM   6   gotten phone calls and death threats before.        I think
11:11:35AM   7   the guy that got the meat would get that.
11:11:39AM   8   Q.        Okay.    Was this person -- and to be clear, you
11:11:43AM   9   don't know what guy this is?
11:11:44AM10     A.        Well, we saw Vista.      Vista Real Estate.
11:11:50AM11     Q.        Vista Real Estate is who got Cedar?
11:11:53AM12     A.        That's what I believe is what's written here and
11:11:56AM13     that's --
11:11:57AM14     Q.        Okay.    That's -- okay.    So may I see that text
11:12:00AM15     for one second?     "Vista Real Estate got marked" -- "got
11:12:08AM16     Cedar."    Okay.   That's your understanding.     Okay.   So
11:12:11AM17     it's a company?
11:12:12AM18     A.        Yes.
11:12:13AM19     Q.        Some company?    Okay.    Vista Real Estate got
11:12:17AM20     Cedar.
11:12:18AM21               Okay.    And so you were doing this to protect
11:12:23AM22     Vista Real Estate?
11:12:24AM23     A.        Yes.
11:12:25AM24     Q.        Didn't you testify earlier that you didn't know
11:12:32AM25     who got Cedar, though?

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                 Case 2:22-cv-01527-DAD-AC Document 61-14 Filed 03/06/24 Page 8 of 10


                                                B.J. MACFARLANE


11:12:33AM   1   A.       I did testify earlier that I did not know who
11:12:36AM   2   got Cedar, but I read it in the email or text messages
11:12:38AM   3   here and that is --
11:12:40AM   4   Q.       So that's Melanie telling you Vista Real
11:12:42AM   5   Estate --
11:12:42AM   6   A.       Yes.
11:12:43AM   7   Q.       -- is getting Cedar?    Okay.   All right.
11:12:44AM   8   A.       I did testify that I did not know.     And I did
11:12:47AM   9   not know until I read that.
11:12:49AM10     Q.       Okay.   All right.   All right.   And then the next
11:12:53AM11     page Melanie -- Melanie texts you, "Thank you.        We are a
11:13:00AM12     nonprofit."     What did that -- how do you interpret that?
11:13:05AM13     A.       As it reads.    We are a nonprofit.
11:13:17AM14     Q.       What does she mean by "we," if you know?
11:13:19AM15     A.       The junior livestock auction.
11:13:21AM16     Q.       Okay.   So reading that in conjunction with the
11:13:26AM17     prior text for Kathie when she said, "Tell anyone that
11:13:29AM18     Cedar was donated to a nonprofit," and Melanie saying
11:13:32AM19     the junior livestock auction, doesn't that imply that
11:13:35AM20     Cedar was donated to the junior livestock auction?
11:13:38AM21              MR. BRIDGES:    Calls for speculation about what
11:13:39AM22     Melanie meant, but if you know, you can answer.
11:13:42AM23              THE WITNESS:    No, I don't -- I think she was
11:13:46AM24     making light of the situation of a nonprofit.      I have no
11:13:48AM25     idea, though, no clue what was she thinking.

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     Case 2:22-cv-01527-DAD-AC Document 61-14 Filed 03/06/24 Page 9 of 10




 1                        PENALTY OF PERJURY
 2         Please be advised I have read the foregoing
 3         deposition, and I hereby state there are:
 4
 5         (Check one)      ______ no corrections
 6                          ______ corrections attached
 7
 8         Executed on ______________________________
 9                             Date
10
11                       _______________________________
                          BJ MACFARLANE
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                               ---oOo-
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     Case 2:22-cv-01527-DAD-AC Document 61-14 Filed 03/06/24 Page 10 of 10




 1                       REPORTER'S CERTIFICATE
 2
 3              I hereby certify that the witness in the
 4    foregoing deposition was duly sworn by me to tell the
 5    truth, the whole truth, and nothing but the truth in the
 6    within-entitled cause; that said deposition was taken at
 7    the time and place herein named; and that the testimony
 8    of said witness was reported by me, a duly certified
 9    shorthand reporter and disinterested person, and was
10    thereafter transcribed under my direction by
11    computer-assisted transcription.
12              I further certify that I am not of counsel or
13    attorney for either or any of the parties to said
14    deposition, nor in any way interested in the outcome of
15    the case named in said caption.
16              IN WITNESS WHEREOF, I have hereunto set my
17    hand.
18
19              DATED:    FEBRUARY 25, 2024
20
21
22              _________________________________________
23                   SUZANNA MICKELSON, CSR No. 14270
24                          State of California
25

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